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                       IN THE UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                         §
     In re:                                              §             Chapter 11
                                                         §
     MOUNTAIN EXPRESS OIL                                §             Case No. 23-90147(DRJ)
     COMPANY, et al 1                                    §
                                                         §             Jointly Administered
                                                         §
                 Debtors

    OBJECTION AND RESERVATION OF RIGHTS OF SPIRIT SPE PORTFOLIO CA C-
          STORES, LLC TO NOTICE TO COUNTERPARTIES TO POTENTIALLY
          ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES AND
                               CURE AMOUNTS

         Landlord Spirit SPE Portfolio CA C-Stores, LLC (“Spirit”) hereby submits this objection

(the “Objection”) to the Notice to Counterparties to Potentially Assumed Executory Contracts and

Unexpired Leases [Dkt. No. 728] (the “Assumption Notice”), and in support thereof, respectfully

represents as follows:

                                          SUMMARY OF OBJECTION

         1.      In their Assumption Notice, the above-captioned debtors and debtors-in-possession

(the “Debtors”) incorrectly claim that $0.00 is the total amount necessary to pay Spirit to cure

defaults under that certain Master Lease by and between Spirit and the Debtors. Contrary to the

proposed cure amount stated in the Assumption Notice, as set forth herein, the correct total amount

necessary to cure outstanding amounts due and owing under the Master Lease, as of July 12, 2023,

is at least $474,572.04. The amounts due under the Master Lease must be cured and adequate

assurance of future performance must be provided for the Master Lease to be assumed or assigned.



1
 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
claims and noticing agent at www.kccllc.net/mountainexpresssoil. The location of Debtor Mountain Express Oil
Company’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 3650 Mansell
Road, Suite 250, Alpharetta, GA 30022.


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       2.      Accordingly, by this Objection, Spirit requests that the Court establish that the total

amount necessary to cure defaults under the Master Lease is at least $474,572.04, plus further and

additional amounts allowed, and which continue to accrue, pursuant to the Master Lease. In

addition to its objection to the proposed cure amount, Spirit reserves all rights with respect to the

requirements for any assumption or assignment of the Master Lease. In particular under the Master

Lease there are indemnification requirements and other non-rent covenants and obligations that

must also be assumed as part of any assumption or assumption and assignment of the Master Lease.

                                     RELEVANT BACKGROUND

       3.      On July 11, 2016, Spirit and the Mountain Express Oil Company Southeast, LLC,

one of the Debtors in these chapter 11 cases entered into that certain Master Lease. The Master

Lease concerns 13 properties in Alabama, Georgia and Florida. The property addresses for each

location are as follows:

            a. 2360 Bent Creek Road, Auburn, Alabama

            b. 3150 Birmingham Highway, Montgomery, Alabama

            c. 1415 Highway 431 North, Anniston, Alabama

            d. 75639 Alabama Highway 77, Lincoln, Alabama

            e. 203 New Franklin Road, Lagrange, Georgia

            f. 4209 West Highway 98 Panama City, Florida

            g. 2098 Highway 14 East, Prattville, Alabama

            h. 1011 Fort Dale Road, Greenville, Alabama

            i. 1710 S. Broad Avenue, Lanett, Alabama

            j. 667 Highway 78 West, Sumiton, Alabama

            k. 691 Main Street, Ragland, Alabama




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               l. 5502 20th Avenue, Valley, Alabama

               m. 750 South Broadway, Sylacauga, Alabama

          4.      The Master Lease provides for a term of an initial term expiration date of July 31,

2036. The monthly base rent due under the Master Lease is $147,960.31, and is due and owing

on the first calendar day of each month.

          5.      On March 18, 2023 (the “Petition Date”), each of the Debtors filed a voluntary

petition with this Court for relief under chapter 11 of title 11 of the United States Code, §§ 101-

1532, et seq. (the “Bankruptcy Code”), thereby commencing these chapter 11 cases (the “Cases”).

The Debtors continue to manage and operate their business as debtors in possession under

Bankruptcy Code sections 1107(a) and 1108.

          6.      The Debtors have failed to pay their May, June and July 2023 lease obligations due

under the Master Lease. The Debtors, non-debtor affiliates and/or their subtenants remain in

possession of and are using Spirit’s leased properties.

          7.      On June 28, 2023 the Debtors filed the Assumption Notice, and included as Exhibit

A an Unexpired Lease Schedule (the “Cure Schedule”). In the Cure Schedule, the Debtors list

$0.00 (the “Proposed Cure Amount”) as the total amount necessary to cure Spirit under the Master

Lease. See Docket 728-A at p. 84.

          8.      Yet, in Spirit’s books and records, which reflects the details and balance amounts

owed under the Master Lease, as of July 12, 2023, the Tenant-Debtor owes a total of $474,572.04

(the “Cure Cost”) to Spirit. A detailed chart of the Cure Cost is included below and is incorporated

herein.




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       9.      As set forth below, Spirit objects to the Proposed Cure Amount and reserves all

rights in connection with any assumption or assignment of the Master Lease, pursuant to section

365(b) of the Bankruptcy Code.

                                              OBJECTION

       10.     Spirit files this Objection to dispute the Proposed Cure Amount listed in the Cure

Schedule. The Master Lease is an “unexpired lease” as that term is used in section 365(b)(1) of

the Bankruptcy Code. Under section 365(b)(1) of the Bankruptcy Code, in order to assume an

unexpired lease under which there has been a default, the debtor in possession must, at the time of

assumption: (a) cure, or provide adequate assurance that it will promptly cure, such default;

(b) compensate or provide adequate assurance that it will promptly compensate the counter-party

for actual pecuniary losses resulting from such default, and (c) provide adequate assurance of

future performance under such lease. 11 U.S.C. § 365(b)(1).

       11.     “Once an assumption order is entered, the creditor must perform in accordance with

the terms of the assumed agreements. However, as a matter of fairness, before requiring the

creditor to perform, courts require the debtor in possession to give the other contracting party the

full benefit of its bargain.” Kimmelman v. Port Auth. of N.Y. & N.J. (In re Kiwi Int’l Air Lines,

Inc.), 344 F.3d 311, 318 (3d Cir. 2003) (internal quotation marks and brackets omitted). “In other

words, the debtor must cure all defaults, assure future performance, and make the other contracting

party whole before it may be permitted to assume the agreement.” Id. see also Richmond Leasing


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Co. v. Capital Bank, N.A., 762 F.2d 1303, 1309 (5th Cir. 1985) (“Section 365 is intended to provide

a means whereby a debtor can force another party to an executory contract to continue to perform

under the contract if (1) the debtor can provide adequate assurance that it, too, will continue to

perform, and if (2) the debtor can cure any defaults in its past performance.”).

       12.     As of the filing of this Objection, under the Master Lease, the Debtors currently

owe Spirit at least $474,572.04, plus any further and additional amounts allowed, and which

continue to accrue, pursuant to the Master Lease. The amount set forth in the Cure Schedule is

incorrect.

       13.     Pursuant to section 365(b)(1) of the Bankruptcy Code, the Debtors may not assume

the Lease unless they cure or provide adequate assurance that cure will promptly be made of any

monetary default by Tenant-Debtor. As described above, as of the date of this Objection, the

proper cure amount that Debtors must make in order to be permitted to assume the Master Lease

is currently $474,572.04. Accordingly, Spirit requests that the Court establish the total amount to

cure defaults under the Master Lease as at least $474,572.04, plus further and additional amounts

allowed, and which continue to accrue pursuant to the Master Lease.

       14.     In addition, to the extent that any additional obligations under the Master Lease are

outstanding and/or subject to being cured, Spirit asserts them. The Cure Cost may increase prior

to any actual date of assumption of the Master Lease, especially in light of the Debtors failure to

remit any rent payments since May 2023. For the foregoing reasons, any assumption of the Master

Lease must be pursuant to its terms, including the continuation of all obligations such as those

related to payment, indemnification, and costs and fees, regardless of when they arose and whether

they have accrued but may not yet have been billed. See 11 U.S.C. § 365(b). In particular under

the Master Lease there are indemnification requirements and other non-rent covenants and




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obligations that must also be assumed as part of any assumption or assumption and assignment of

the Master Lease.

                                     RESERVATION OF RIGHTS

       15.     Spirit reserves all rights with respect to the Master Lease, the Assumption Notice,

the Cure Schedule and all other pending pleadings in these Cases, and as against the Debtors or

any other party under the Master Lease, the Bankruptcy Code, and other applicable law. Spirit

expressly reserves the right to amend or supplement this Objection, including with respect to the

Cure Cost and/or requirements under section 365(b)(1), at any time prior to any assumption or

assignment of the Master Lease, to assert additional defaults or any rights for indemnification or

contribution against the Debtors under the Master Lease, and to assert any further objections as

they deem necessary or appropriate and as the evidence may allow at any hearing thereon.

                                              CONCLUSION

       WHEREFORE, Spirit respectfully request that this Court enter an order (i) sustaining this

Objection; (ii) establishing the total amount necessary to cure the defaults under the Master Lease

as at least $474,572.04, plus further and additional amounts allowed, and which continue to accrue,

pursuant to the Master Lease; and (iii) granting Spirit such other relief as is appropriate.



 DATED July 12, 2023                                   Respectfully submitted,


                                                    By: /s/ Keith M. Aurzada
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on July 11, 2023, a true and correct copy of the foregoing document
was served by the Electronic Case Filing (ECF) system for the United States Bankruptcy Court for
the Southern District of Texas on all parties registered to receive electronic notices in this case.


                                                             By: /s/ Keith M. Aurzada
                                                                 Keith M. Aurzada




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